  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 1 of 36 PageID #: 1




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


UNIVERSAL CONNECTIVITY
TECHNOLOGIES INC.,
                                                  Case No. 2:23-cv-449
                      Plaintiff,
               v.                                 JURY TRIAL DEMANDED

LENOVO GROUP LIMITED,

                      Defendant.



                      COMPLAINT FOR PATENT INFRINGEMENT
                        AGAINST LENOVO GROUP LIMITED

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Universal Connectivity Technologies Inc.

(“Plaintiff”) makes the following allegations against Defendant Lenovo Group Limited

(“Defendant” or “Lenovo”):

                                       INTRODUCTION

       1.      This complaint arises from Lenovo’s unlawful infringement of the following

United States patents owned by Plaintiff: United States Patent Nos. 7,154,905 (“the ’905 Patent”),

7,187,307 (“the ’307 Patent”), 7,746,798 (“the ’798 Patent”), 9,232,265 (“the ’265 Patent”),

8,680,712 (“the ’712 Patent”), 7,856,520 (“the ’520 Patent”), 7,921,231 (“the ’231 Patent”), and

9,852,103 (“the ’103 Patent”) (collectively, the “Asserted Patents”).

                                           PARTIES

       2.      Plaintiff Universal Connectivity Technologies Inc. (“UCT”) is a Delaware

corporation, with its principal place of business at 1891 Robertson Road, Suite 100, Ottawa, ON

K2H 5B7, Canada. UCT is a wholly-owned subsidiary of Wi-LAN Technologies Inc., which is a
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 2 of 36 PageID #: 2




wholly-owned subsidiary of Wi-LAN Inc. (“WiLAN”) and is a Canadian corporation with a

principal place of business at 1891 Robertson Road, Suite 100, Ottawa, ON K2H 5B7, Canada.

UCT is the sole owner by assignment of all right, title, and interest in the Asserted Patents,

including the right to recover for past, present, and future infringement.

       3.      Defendant Lenovo Group Limited is a foreign company organized and existing

under the laws of China, with its headquarters at 23rd Floor, Lincoln House, Taikoo Place, 979

King’s Road, Quarry Bay, Hong Kong S.A.R. of China. Lenovo does business in Texas and in

the Eastern District of Texas, directly or through intermediaries, such as its wholly-owned

subsidiaries. Lenovo is responsible for importing, making, marketing, distributing, offering for

sale, and/or selling Lenovo-branded laptops, desktops, monitors, docking stations, and adapters in

the United States (directly or through its wholly-owned subsidiaries), including in this District.

       4.      Lenovo induces its subsidiaries, affiliates, retail partners, and customers in the

making, using, selling, offering for sale, and/or importing throughout the United States, including

within this District, infringing products (such as Lenovo-branded laptops, desktops, monitors,

docking stations, and adapters) and placing such products into the stream of commerce via

established distribution channels knowing or understanding that such products would be sold

and used in the United States, including in the Eastern District of Texas. Lenovo purposefully

directs the Accused Products into established distribution channels within this District and the U.S.

nationally. For example, Lenovo sells and offers to sell the Accused Products through its website,

Lenovo.com, which may be accessed throughout the United States, the State of Texas, and this

District. Additionally, Lenovo has authorized sellers and sales representatives that offer for sale

and sell the Accused Products throughout the State of Texas and to consumers throughout this

District, such as: Best Buy, 422 West Loop 281, Suite 100, Longview, Texas 75605; Costco




                                                 2
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 3 of 36 PageID #: 3




Wholesale, 3650 West University Drive, McKinney, Texas 75071; Office Depot, 422 West Loop

281, Suite 300, Longview, Texas 75605; Target, 3092 North Eastman Road, Suite 100, Longview,

Texas 75605; and Wal-Mart, 1701 East End Boulevard North, Marshall, Texas 75670.

       5.      Lenovo maintains a corporate presence in the United States via at least its wholly-

owned subsidiaries, including Lenovo (United States) Inc. (“Lenovo US”) and Lenovo Global

Technology (United States) Inc. (“Lenovo Tech.”).

       6.      Lenovo US is a corporation organized and existing under the laws of Delaware,

with a corporate headquarters located at 1009 Think Place, Morrisville, NC 27560. Lenovo US is

registered to do business in the State of Texas and may be served through CT Corporation System,

1999 Bryan St., Ste. 900, Dallas, TX 75201.

       7.      Lenovo Tech. is a corporation organized and existing under the laws of Delaware,

with a corporate headquarters located at 1009 Think Place, Morrisville, NC 27560. Lenovo Tech.

is registered to do business in the State of Texas and may be served through CT Corporation

System, 1999 Bryan St., Ste. 900, Dallas, TX 75201.

       8.      Lenovo and its U.S.-based subsidiaries (which act as part of a global network of

sales and manufacturing subsidiaries) operate as agents of one another and vicariously as parts of

the same business group to work in concert together. For example, in its 2022/23 Annual Report,

Lenovo describes itself and its subsidiaries as follows:




Ex. 1 at 192 (https://investor.lenovo.com//en/publications/reports.php). Lenovo identifies U.S.-

based subsidiaries (including but not limited to Lenovo US and Lenovo Tech.) in its list of

“principal subsidiaries.” Id. at 279, 281. Lenovo describes its “principal subsidiaries” as follows:



                                                 3
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 4 of 36 PageID #: 4




Id. at 276. Lenovo identifies its 2023 “percentage of issued share capital held” for Lenovo US and

Lenovo Tech. as “100%.” Id. at 279, 281. Further, Lenovo identifies the “principal activities” for

Lenovo US as “[d]istribution of IT products” and the “principal activities” for Lenovo Tech. as

“[p]rovision of IT services and distribution of IT products.” Id. As such, Lenovo US and Lenovo

Tech. are agents of Lenovo. At the direction and control of Lenovo, U.S.-based subsidiaries

(including but not limited to Lenovo US and Lenovo Tech.) make, use, import, offer to sell, and/or

sell Lenovo-branded laptops, desktops, monitors, docking stations, and adapters that infringe the

Asserted Patents, including in the State of Texas and this District.

       9.         Lenovo, alone and through its U.S.-based subsidiaries (such as Lenovo US and

Lenovo Tech.), places such infringing products into the stream of commerce via established

distribution channels knowing or understanding that such products would be sold and used in the

United States, including in the Eastern District of Texas. Lenovo has derived substantial revenue

from infringing acts in the United States, including from the sale and use of infringing products.

See         Ex.       1       at      225       (showing        revenues        for      “Americas”)

(https://investor.lenovo.com//en/publications/reports.php).

                                   JURISDICTION AND VENUE

       10.        This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       11.        This Court has personal jurisdiction over Lenovo in this action because Lenovo has

committed acts within Texas (and this District) giving rise to this action and has established




                                                    4
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 5 of 36 PageID #: 5




minimum contacts with this forum such that the exercise of jurisdiction over Lenovo would not

offend traditional notions of fair play and substantial justice. Lenovo, directly and/or through

subsidiaries or intermediaries, has committed and continues to commit acts of infringement in this

District by, among other things, making, using, importing, offering to sell, and/or selling products

that infringe the Asserted Patents. Courts in Texas have concluded that Lenovo is subject to

personal jurisdiction in the State of Texas. See ACQIS LLC v. Lenovo Grp. Ltd., 572 F. Supp. 3d

291, 307 (W.D. Tex. 2021) (“this Court finds that the exercise of personal jurisdiction over

[Lenovo Group Limited] is both reasonable and fair.”); see also AX Wireless LLC v. Lenovo Grp.

Ltd., No. 2:22-cv-00280-RWS-RSP, Dkt. No. 110 (report and recommendation) (E.D. Tex. Sept.

6, 2023) (“exercising personal jurisdiction [over Lenovo Grp. Ltd.] would not offend traditional

notions of fair place and substantial justice.”).

        12.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b). Lenovo,

directly and/or through subsidiaries or intermediaries, has transacted business in this District and

has committed acts of direct infringement in this District by, among other things, making, using,

offering to sell, selling, and importing products that infringe the Asserted Patents. Venue is also

proper as to Lenovo because it is a foreign corporation organized under the laws of China and suits

against foreign entities are proper in any judicial district. See 28 U.S.C. § 1391(c)(3); In re HTC

Corp., 889 F.3d 1349 (Fed. Cir. 2018).

                                              COUNT I

                      INFRINGEMENT OF U.S. PATENT NO. 7,154,905

        13.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.




                                                    5
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 6 of 36 PageID #: 6




          14.   Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 7,154,905, titled

“Method and system for nesting of communications packets.” The ’905 Patent was duly and

legally issued by the United States Patent and Trademark Office on December 26, 2006. A true

and correct copy of the ’905 Patent is attached as Exhibit 2.

          15.   On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, monitors, and docking stations) that support DisplayPort 1.2 or later, such as

the Qreator 27 UHD Smart Crystal Sound Wireless Charging Monitor, ThinkCentre M75s Gen 2

Small Form Factor Desktop, ThinkPad USB-C Dock Gen 2 Docking Station, and Legion 7 Gen 6

& 7 Gaming Laptop (“Accused Products”), that directly infringe, literally and/or under the doctrine

of equivalents, one or more claims of the ’905 Patent. Identification of the Accused Products will

be provided in Plaintiff’s infringement contentions disclosed pursuant to the Court’s scheduling

order. Plaintiff’s identification of the Accused Products is not intended to accuse products where

the infringement accusations are directed at products that are licensed by the license between Intel

Corporation and WiLAN.

          16.   The Accused Products satisfy all claim limitations of one or more claims of the ’905

Patent.    A claim chart comparing exemplary independent claim 21 of the ’905 Patent to

representative Accused Products is attached as Exhibit 3.

          17.   On June 30, 2022, WiLAN sent Lenovo a letter indicating that certain Lenovo

products infringe at least claim 21 of the ’905 Patent and proposed times to discuss a potential

license from UCT to practice the ’905 Patent. Ex. 4. On July 11, 2022, Lenovo’s licensing

department confirmed receipt of the June 30 letter and indicated that it “would be happy to engage




                                                 6
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 7 of 36 PageID #: 7




in discussions” with WiLAN regarding a potential license. Ex. 5. Thereafter, WiLAN and Lenovo

exchanged various emails and held numerous calls to discuss the UCT patents (including

substantive discussions regarding the alleged infringement and validity of the patents), including

calls on July 26, 2022, November 1, 2022, November 8, 2022, November 29, 2022, December 20,

2022, January 24, 2023, January 31, 2023, February 14, 2023, and March 7, 2023. After extensive

discussions between the parties, Lenovo ultimately declined to take a license, or even hear UCT’s

offer for a license, on a call held on March 30, 2023.

       18.     Lenovo knowingly and intentionally induces infringement of one or more claims

of the ’905 Patent in violation of 35 U.S.C. § 271(b). As of at least July 11, 2022, Lenovo has

knowledge of the ’905 Patent and the infringing nature of the Accused Products. Despite this

knowledge of the ’905 Patent, Lenovo continues to actively encourage and instruct its customers

and end users (for example, through online instruction and other online publications cited in

Exhibit 3) to use the Accused Products in ways that directly infringe the ’905 Patent. For example,

Lenovo advertises that its products are compatible with DisplayPort.                    See, e.g.,

https://www.lenovo.com/us/en/p/desktops/thinkcentre/m-series-sff/thinkcentre-m75s-gen-

2/11tc1mdm75s?orgRef=https%253A%252F%252Fwww.google.com%252F#tech_specs

(ThinkCenter M75s Gen 2 Small Form Factor Desktop – Product Specification);

https://www.lenovo.com/us/en/p/laptops/legion-laptops/legion-7-series/legion-7-gen-6-(16-inch-

amd)/len101g0011?orgRef=https%253A%252F%252Fwww.google.com%252F (Legion 7 Gen 6

Gaming Laptop – Product Specification). Lenovo also instructs its customers and end users on

how to use the Accused Products in an infringing manner, including through the use of

DisplayPort.                                                    See,                          e.g.,

https://download.lenovo.com/pccbbs/thinkcentre_pdf/m75s_gen2_ug_en.pdf (ThinkCenter M75s




                                                 7
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 8 of 36 PageID #: 8




Gen       2       Small        Form        Factor       Desktop         –       User       Manual);

https://download.lenovo.com/pccbbs/pubs/legion_7_16_6/html_en/index.html#t=EN%2Fcover.h

tml (Legion 7 Gen 6 Gaming Laptop – User Manual). Lenovo provides these instructions and

materials knowing and intending (or with willful blindness to the fact) that its customers and end

users will commit these infringing acts. Lenovo also continues to make, use, offer for sale, sell,

and/or import the Accused Products, despite its knowledge of the ’905 Patent, thereby specifically

intending for and inducing its customers to infringe the ’905 Patent through the customers’ normal

and customary use of the Accused Products.

       19.     Lenovo has also infringed, and continues to infringe, one or more claims of the ’905

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’905

Patent, are especially made or adapted to infringe the ’905 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least July 11, 2022, Lenovo

has knowledge of the ’905 Patent and the infringing nature of the Accused Products. Lenovo has

been, and currently is, contributorily infringing the ’905 Patent in violation of 35 U.S.C. §§ 271(c)

and/or (f). For example, the identified hardware and/or software components in Lenovo’s laptops,

desktops, monitors, and docking stations that support DisplayPort 1.2 constitute a material part of

the inventions claimed in the ’905 Patent, are especially made or adapted to infringe the ’905

Patent, and are not staple articles or commodities of commerce suitable for non-infringing use, as

demonstrated by the evidence cited above and in Exhibit 3.

       20.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’905 Patent

pursuant to 35 U.S.C. § 271.




                                                 8
  Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 9 of 36 PageID #: 9




        21.       On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’905 Patent

during the relevant time period or were not required to mark during the relevant time period.

        22.       As described above, Lenovo obtained knowledge of the ’905 Patent and that certain

products infringe the ’905 Patent as of at least July 11, 2022, but has not ceased its infringing

activities. Lenovo’s infringement of the ’905 Patent has been and continues to be willful and

deliberate. Lenovo also has knowledge of the ’905 Patent by way of this complaint and, to the

extent they do not cease their infringing activities, their infringement is and continues to be willful

and deliberate.

        23.       As a result of Lenovo’s direct and indirect infringement of the ’905 Patent, Plaintiff

is entitled to monetary damages (past, present, and future) in an amount adequate to compensate

for Lenovo’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Lenovo, together with interest and costs as fixed by the Court.

                                               COUNT II

                        INFRINGEMENT OF U.S. PATENT NO. 7,187,307

        24.       Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        25.       Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 7,187,307, titled

“Method and system for encapsulation of multiple levels of communication protocol functionality

within line codes.” The ’307 Patent was duly and legally issued by the United States Patent and




                                                    9
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 10 of 36 PageID #: 10




Trademark Office on March 6, 2007. A true and correct copy of the ’307 Patent is attached as

Exhibit 6.

          26.   On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, monitors, and docking stations) that support DisplayPort Version 1.0 or later,

such as the Qreator 27 UHD Smart C1ystal Sound Wireless Charging Monitor, ThinkCentre M75s

Gen 2 Small Form Factor Desktop, Legion 7 Gen 6 & 7 Gaming Laptop, and ThinkPad USB-C

Dock Gen 2 Docking Station (“Accused Products”), that directly infringe, literally and/or under

the doctrine of equivalents, one or more claims of the ’307 Patent. Identification of the Accused

Products will be provided in Plaintiff’s infringement contentions disclosed pursuant to the Court’s

scheduling order. Plaintiff’s identification of the Accused Products is not intended to accuse

products where the infringement accusations are directed at products that are licensed by the

license between Intel Corporation and WiLAN.

          27.   The Accused Products satisfy all claim limitations of one or more claims of the ’307

Patent.    A claim chart comparing exemplary independent claim 68 of the ’307 Patent to

representative Accused Products is attached as Exhibit 7.

          28.   On June 30, 2022, WiLAN sent Lenovo a letter indicating that certain Lenovo

products infringe at least claims 53 and 68 of the ’307 Patent and proposed times to discuss a

potential license from UCT to practice the ’307 Patent. Ex. 4. On July 11, 2022, Lenovo’s

licensing department confirmed receipt of the June 30 letter and indicated that it “would be happy

to engage in discussions” with WiLAN regarding a potential license. Ex. 5. Thereafter, WiLAN

and Lenovo exchanged various emails and held numerous calls to discuss the UCT patents

(including substantive discussions regarding the alleged infringement and validity of the patents),




                                                 10
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 11 of 36 PageID #: 11




including calls on July 26, 2022, November 1, 2022, November 8, 2022, November 29, 2022,

December 20, 2022, January 24, 2023, January 31, 2023, February 14, 2023, and March 7, 2023.

After extensive discussions between the parties, Lenovo ultimately declined to take a license, or

even hear UCT’s offer for a license, on a call held on March 30, 2023.

       29.     Lenovo knowingly and intentionally induces infringement of one or more claims

of the ’307 Patent in violation of 35 U.S.C. § 271(b). As of at least July 11, 2022, Lenovo has

knowledge of the ’307 Patent and the infringing nature of the Accused Products. Despite this

knowledge of the ’307 Patent, Lenovo continues to actively encourage and instruct its customers

and end users (for example, through online instruction and other online publications cited in

Exhibit 7) to use the Accused Products in ways that directly infringe the ’307 Patent. For example,

Lenovo advertises that its products are compatible with DisplayPort.                    See, e.g.,

https://www.lenovo.com/us/en/p/desktops/thinkcentre/m-series-sff/thinkcentre-m75s-gen-

2/11tc1mdm75s?orgRef=https%253A%252F%252Fwww.google.com%252F#tech_specs

(ThinkCenter M75s Gen 2 Small Form Factor Desktop – Product Specification);

https://www.lenovo.com/us/en/p/laptops/legion-laptops/legion-7-series/legion-7-gen-6-(16-inch-

amd)/len101g0011?orgRef=https%253A%252F%252Fwww.google.com%252F (Legion 7 Gen 6

Gaming Laptop – Product Specification). Lenovo also instructs its customers and end users on

how to use the Accused Products in an infringing manner, including through the use of

DisplayPort.                                                     See,                         e.g.,

https://download.lenovo.com/pccbbs/thinkcentre_pdf/m75s_gen2_ug_en.pdf (ThinkCenter M75s

Gen       2       Small       Form        Factor       Desktop          –     User       Manual);

https://download.lenovo.com/pccbbs/pubs/legion_7_16_6/html_en/index.html#t=EN%2Fcover.h

tml (Legion 7 Gen 6 Gaming Laptop – User Manual). Lenovo provides these instructions and




                                                11
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 12 of 36 PageID #: 12




materials knowing and intending (or with willful blindness to the fact) that its customers and end

users will commit these infringing acts. Lenovo also continues to make, use, offer for sale, sell,

and/or import the Accused Products, despite its knowledge of the ’307 Patent, thereby specifically

intending for and inducing its customers to infringe the ’307 Patent through the customers’ normal

and customary use of the Accused Products.

       30.     Lenovo has also infringed, and continues to infringe, one or more claims of the ’307

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’307

Patent, are especially made or adapted to infringe the ’307 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least July 11, 2022, Lenovo

has knowledge of the ’307 Patent and the infringing nature of the Accused Products. Lenovo has

been, and currently is, contributorily infringing the ’307 Patent in violation of 35 U.S.C. §§ 271(c)

and/or (f). For example, the identified hardware and/or software components in Lenovo’s laptops,

desktops, monitors, and docking stations that support DisplayPort constitute a material part of the

inventions claimed in the ’307 Patent, are especially made or adapted to infringe the ’307 Patent,

and are not staple articles or commodities of commerce suitable for non-infringing use, as

demonstrated by the evidence in Exhibit 7.

       31.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’307 Patent

pursuant to 35 U.S.C. § 271.

       32.     On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,




                                                 12
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 13 of 36 PageID #: 13




and any licensees did not make, offer for sale, or sell products that practice(d) the ’307 Patent

during the relevant time period or were not required to mark during the relevant time period.

        33.       As described above, Lenovo obtained knowledge of the ’307 Patent and that certain

products infringe the ’307 Patent as of at least July 11, 2022, but has not ceased its infringing

activities. Lenovo’s infringement of the ’307 Patent has been and continues to be willful and

deliberate. Lenovo also has knowledge of the ’307 Patent by way of this complaint and, to the

extent they do not cease their infringing activities, their infringement is and continues to be willful

and deliberate.

        34.       As a result of Lenovo’s direct and indirect infringement of the ’307 Patent, Plaintiff

is entitled to monetary damages (past, present, and future) in an amount adequate to compensate

for Lenovo’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Lenovo, together with interest and costs as fixed by the Court.

                                              COUNT III

                        INFRINGEMENT OF U.S. PATENT NO. 7,746,798

        35.       Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        36.       Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 7,746,798, titled

“Method and system for integrating packet type information with synchronization symbols.”

The ’798 Patent was duly and legally issued by the United States Patent and Trademark Office on

June 29, 2010. A true and correct copy of the ’798 Patent is attached as Exhibit 8.

        37.       On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products




                                                   13
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 14 of 36 PageID #: 14




(laptops, desktops, monitors, and docking stations) that support USB 3.0 and later, such as the

ThinkVision Ml4t USB-C Mobile Monitor, ThinkStation P620 Workstation, ThinkPad T14 Gen 3

Laptop, and Legion 7 Gen 6 & 7 Gaming Laptop (“Accused Products”), that directly infringe,

literally and/or under the doctrine of equivalents, one or more claims of the ’798 Patent.

Identification of the Accused Products will be provided in Plaintiff’s infringement contentions

disclosed pursuant to the Court’s scheduling order. Plaintiff’s identification of the Accused

Products is not intended to accuse products where the infringement accusations are directed at

products that are licensed by the license between Intel Corporation and WiLAN.

          38.   The Accused Products satisfy all claim limitations of one or more claims of the ’798

Patent.    A claim chart comparing exemplary independent claim 19 of the ’798 Patent to

representative Accused Products is attached as Exhibit 9.

          39.   On June 30, 2022, WiLAN sent Lenovo a letter indicating that certain Lenovo

products infringe at least claim 19 of the ’798 Patent and proposed times to discuss a potential

license from UCT to practice the ’798 Patent. Ex. 4. On July 11, 2022, Lenovo’s licensing

department confirmed receipt of the June 30 letter and indicated that it “would be happy to engage

in discussions” with WiLAN regarding a potential license. Ex. 5. Thereafter, WiLAN and Lenovo

exchanged various emails and held numerous calls to discuss the UCT patents (including

substantive discussions regarding the alleged infringement and validity of the patents), including

calls on July 26, 2022, November 1, 2022, November 8, 2022, November 29, 2022, December 20,

2022, January 24, 2023, January 31, 2023, February 14, 2023, and March 7, 2023. After extensive

discussions between the parties, Lenovo ultimately declined to take a license, or even hear UCT’s

offer for a license, on a call held on March 30, 2023.




                                                 14
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 15 of 36 PageID #: 15




       40.     Lenovo knowingly and intentionally induces infringement of one or more claims

of the ’798 Patent in violation of 35 U.S.C. § 271(b). As of at least July 11, 2022, Lenovo has

knowledge of the ’798 Patent and the infringing nature of the Accused Products. Despite this

knowledge of the ’798 Patent, Lenovo continues to actively encourage and instruct its customers

and end users (for example, through online instruction and other online publications cited in

Exhibit 9) to use the Accused Products in ways that directly infringe the ’798 Patent. For example,

Lenovo    advertises    that    its       products   are    compatible     with    USB.          See,   e.g.,

https://www.lenovo.com/us/en/p/desktops/thinkcentre/m-series-sff/thinkcentre-m75s-gen-

2/11tc1mdm75s?orgRef=https%253A%252F%252Fwww.google.com%252F#tech_specs

(ThinkCenter M75s Gen 2 Small Form Factor Desktop – Product Specification);

https://www.lenovo.com/us/en/p/workstations/thinkstation-p-series/thinkstation-

p620/wmd00000429?orgRef=https%253A%252F%252Fwww.google.com%252F&cid=us:sem|s

e|google|subbrand_pc_thinkstation|commercial_premium_workstation_amd_generic|thinkstation

%20p620%20tower%20workstation|b|20493766441|153601625180|aud-959187040766:kwd-

1285462112330|search||commercialconsumer&gclid=CjwKCAjwyNSoBhA9EiwA5aYlb1cQap-

ty8e-hnPQGpkrda-BU8_gs9BFYgpcbtbAm2P2inMd01D17hoCBL4QAvD_BwE

(ThinkStation P620 Workstation – Product Specification). Lenovo also instructs its customers and

end users on how to use the Accused Products in an infringing manner, including through the use

of USB. See, e.g., https://download.lenovo.com/pccbbs/thinkcentre_pdf/m75s_gen2_ug_en.pdf

(ThinkCenter     M75s     Gen         2    Small     Form    Factor      Desktop    –     User     Manual);

https://download.lenovo.com/pccbbs/thinkcentre_pdf/p620_ug_en.pdf                  (ThinkStation        P620

Workstation – User Manual). Lenovo provides these instructions and materials knowing and

intending (or with willful blindness to the fact) that its customers and end users will commit these




                                                     15
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 16 of 36 PageID #: 16




infringing acts. Lenovo also continues to make, use, offer for sale, sell, and/or import the Accused

Products, despite its knowledge of the ’798 Patent, thereby specifically intending for and inducing

its customers to infringe the ’798 Patent through the customers’ normal and customary use of the

Accused Products.

       41.     Lenovo has also infringed, and continues to infringe, one or more claims of the ’798

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’798

Patent, are especially made or adapted to infringe the ’798 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least July 11, 2022, Lenovo

has knowledge of the ’798 Patent and the infringing nature of the Accused Products. Lenovo has

been, and currently is, contributorily infringing the ’798 Patent in violation of 35 U.S.C. §§ 271(c)

and/or (f). For example, the identified hardware and/or software components in Lenovo’s laptops,

desktops, monitors, and docking stations that support USB 3.0 and later constitute a material part

of the inventions claimed in the ’798 Patent, are especially made or adapted to infringe the ’798

Patent, and are not staple articles or commodities of commerce suitable for non-infringing use, as

demonstrated by the evidence in Exhibit 9.

       42.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’798 Patent

pursuant to 35 U.S.C. § 271.

       43.     On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’798 Patent

during the relevant time period or were not required to mark during the relevant time period.




                                                 16
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 17 of 36 PageID #: 17




        44.       As described above, Lenovo obtained knowledge of the ’798 Patent and that certain

products infringe the ’798 Patent as of at least July 11, 2022, but has not ceased its infringing

activities. Lenovo’s infringement of the ’798 Patent has been and continues to be willful and

deliberate. Lenovo also has knowledge of the ’798 Patent by way of this complaint and, to the

extent they do not cease their infringing activities, their infringement is and continues to be willful

and deliberate.

        45.       As a result of Lenovo’s direct and indirect infringement of the ’798 Patent, Plaintiff

is entitled to monetary damages (past, present, and future) in an amount adequate to compensate

for Lenovo’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Lenovo, together with interest and costs as fixed by the Court.

                                              COUNT IV

                        INFRINGEMENT OF U.S. PATENT NO. 9,232,265

        46.       Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        47.       Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 9,232,265, titled

“Method, apparatus and system for transitioning an audio/video device between a source mode

and a sink mode.” The ’265 Patent was duly and legally issued by the United States Patent and

Trademark Office on January 5, 2016. A true and correct copy of the ’265 Patent is attached as

Exhibit 10.

        48.       On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, and monitors) that support USB-C Revision 1.0 or later, such as the




                                                   17
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 18 of 36 PageID #: 18




ThinkVision M14t USB-C Mobile Monitor, ThinkCentre M75s Gen 2 Small Form Factor Desktop,

and the Legion 7 Gen 6 & 7 Gaming Laptop (“Accused Products”), that directly infringe, literally

and/or under the doctrine of equivalents, one or more claims of the ’265 Patent. Identification of

the Accused Products will be provided in Plaintiff’s infringement contentions disclosed pursuant

to the Court’s scheduling order. Plaintiff’s identification of the Accused Products is not intended

to accuse products where the infringement accusations are directed at products that are licensed by

the license between Intel Corporation and WiLAN.

          49.   The Accused Products satisfy all claim limitations of one or more claims of the ’265

Patent.     A claim chart comparing exemplary independent claim 8 of the ’265 Patent to

representative Accused Products is attached as Exhibit 11.

          50.   On June 30, 2022, WiLAN sent Lenovo a letter indicating that certain Lenovo

products infringe at least claim 8 of the ’265 Patent and proposed times to discuss a potential

license from UCT to practice the ’265 Patent. Ex. 4. On July 11, 2022, Lenovo’s licensing

department confirmed receipt of the June 30 letter and indicated that it “would be happy to engage

in discussions” with WiLAN regarding a potential license. Ex. 5. Thereafter, WiLAN and Lenovo

exchanged various emails and held numerous calls to discuss the UCT patents (including

substantive discussions regarding the alleged infringement and validity of the patents), including

calls on July 26, 2022, November 1, 2022, November 8, 2022, November 29, 2022, December 20,

2022, January 24, 2023, January 31, 2023, February 14, 2023, and March 7, 2023. After extensive

discussions between the parties, Lenovo ultimately declined to take a license, or even hear UCT’s

offer for a license, on a call held on March 30, 2023.

          51.   Lenovo knowingly and intentionally induces infringement of one or more claims

of the ’265 Patent in violation of 35 U.S.C. § 271(b). As of at least July 11, 2022, Lenovo has




                                                 18
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 19 of 36 PageID #: 19




knowledge of the ’265 Patent and the infringing nature of the Accused Products. Despite this

knowledge of the ’265 Patent, Lenovo continues to actively encourage and instruct its customers

and end users (for example, through online instruction and other online publications cited in

Exhibit 11) to use the Accused Products in ways that directly infringe the ’265 Patent. For

example, Lenovo advertises that its products are compatible with USB-C.                    See, e.g.,

https://www.lenovo.com/us/en/p/desktops/thinkcentre/m-series-sff/thinkcentre-m75s-gen-

2/11tc1mdm75s?orgRef=https%253A%252F%252Fwww.google.com%252F#tech_specs

(ThinkCenter M75s Gen 2 Small Form Factor Desktop – Product Specification);

https://www.lenovo.com/us/en/p/laptops/legion-laptops/legion-7-series/legion-7-gen-6-(16-inch-

amd)/len101g0011?orgRef=https%253A%252F%252Fwww.google.com%252F (Legion 7 Gen 6

Gaming Laptop – Product Specification). Lenovo also instructs its customers and end users on

how to use the Accused Products in an infringing manner, including through the use of USB-C.

See,      e.g.,        https://download.lenovo.com/pccbbs/thinkcentre_pdf/m75s_gen2_ug_en.pdf

(ThinkCenter       M75s     Gen     2   Small    Form     Factor    Desktop     –   User    Manual);

https://download.lenovo.com/pccbbs/pubs/legion_7_16_6/html_en/index.html#t=EN%2Fcover.h

tml (Legion 7 Gen 6 Gaming Laptop – User Manual). Lenovo provides these instructions and

materials knowing and intending (or with willful blindness to the fact) that its customers and end

users will commit these infringing acts. Lenovo also continues to make, use, offer for sale, sell,

and/or import the Accused Products, despite its knowledge of the ’265 Patent, thereby specifically

intending for and inducing its customers to infringe the ’265 Patent through the customers’ normal

and customary use of the Accused Products.

       52.        Lenovo has also infringed, and continues to infringe, one or more claims of the ’265

Patent by selling, offering for sale, or importing into the United States, the Accused Products,




                                                   19
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 20 of 36 PageID #: 20




knowing that the Accused Products constitute a material part of the inventions claimed in the ’265

Patent, are especially made or adapted to infringe the ’265 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least July 11, 2022, Lenovo

has knowledge of the ’265 Patent and the infringing nature of the Accused Products. Lenovo has

been, and currently is, contributorily infringing the ’265 Patent in violation of 35 U.S.C. §§ 271(c)

and/or (f). For example, the identified hardware and/or software components in Lenovo’s laptops,

desktops, and monitors that support USB-C Release 1.0 or later constitute a material part of the

inventions claimed in the ’265 Patent, are especially made or adapted to infringe the ’265 Patent,

and are not staple articles or commodities of commerce suitable for non-infringing use, as

demonstrated by the evidence in Exhibit 11.

       53.        By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’265 Patent

pursuant to 35 U.S.C. § 271.

       54.        On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’265 Patent

during the relevant time period or were not required to mark during the relevant time period.

       55.        As described above, Lenovo obtained knowledge of the ’265 Patent and that certain

products infringe the ’265 Patent as of at least July 11, 2022, but has not ceased its infringing

activities. Lenovo’s infringement of the ’265 Patent has been and continues to be willful and

deliberate. Lenovo also has knowledge of the ’265 Patent by way of this complaint and, to the

extent they do not cease their infringing activities, their infringement is and continues to be willful

and deliberate.




                                                   20
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 21 of 36 PageID #: 21




        56.     As a result of Lenovo’s direct and indirect infringement of the ’265 Patent, Plaintiff

is entitled to monetary damages (past, present, and future) in an amount adequate to compensate

for Lenovo’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Lenovo, together with interest and costs as fixed by the Court.

                                             COUNT V

                      INFRINGEMENT OF U.S. PATENT NO. 8,680,712

        57.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        58.     Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 8,680,712, titled

“Power delivery over digital interaction interface for video and audio (DiiVA).” The ’712 Patent

was duly and legally issued by the United States Patent and Trademark Office on March 25, 2014.

A true and correct copy of the ’712 Patent is attached as Exhibit 12.

        59.     On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, monitors, docking stations, and power adapters) that support USB-C Version

1.0 and later, such as the ThinkVision M14t USB-C Mobile Monitor, ThinkVision P27pz-30 Mini-

LED Monitor, ThinkCentre M75s Gen 2 Small Form Factor Desktop, and Legion 7 Gen 6 & 7

Gaming Laptop (“Accused Products”), that directly infringe, literally and/or under the doctrine of

equivalents, one or more claims of the ’712 Patent. Identification of the Accused Products will be

provided in Plaintiff’s infringement contentions disclosed pursuant to the Court’s scheduling

order. Plaintiff’s identification of the Accused Products is not intended to accuse products where




                                                 21
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 22 of 36 PageID #: 22




the infringement accusations are directed at products that are licensed by the license between Intel

Corporation and WiLAN.

          60.   The Accused Products satisfy all claim limitations of one or more claims of the ’712

Patent.     A claim chart comparing exemplary independent claim 1 of the ’712 Patent to

representative Accused Products is attached as Exhibit 13.

          61.   On June 30, 2022, WiLAN sent Lenovo a letter indicating that certain Lenovo

products infringe at least claim 1 of the ’712 Patent and proposed times to discuss a potential

license from UCT to practice the ’712 Patent. Ex. 4. On July 11, 2022, Lenovo’s licensing

department confirmed receipt of the June 30 letter and indicated that it “would be happy to engage

in discussions” with WiLAN regarding a potential license. Ex. 5. Thereafter, WiLAN and Lenovo

exchanged various emails and held numerous calls to discuss the UCT patents (including

substantive discussions regarding the alleged infringement and validity of the patents), including

calls on July 26, 2022, November 1, 2022, November 8, 2022, November 29, 2022, December 20,

2022, January 24, 2023, January 31, 2023, February 14, 2023, and March 7, 2023. After extensive

discussions between the parties, Lenovo ultimately declined to take a license, or even hear UCT’s

offer for a license, on a call held on March 30, 2023.

          62.   Lenovo also knowingly and intentionally induces infringement of one or more

claims of the ’712 Patent in violation of 35 U.S.C. § 271(b). As of at least July 11, 2022, Lenovo

has knowledge of the ’712 Patent and the infringing nature of the Accused Products. Despite this

knowledge of the ’712 Patent, Lenovo continues to actively encourage and instruct its customers

and end users (for example, through online instruction and other online publications cited in

Exhibit 13) to use the Accused Products in ways that directly infringe the ’712 Patent. For

example, Lenovo advertises that its products are compatible with USB-C.                  See, e.g.,




                                                 22
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 23 of 36 PageID #: 23




https://www.lenovo.com/us/en/p/desktops/thinkcentre/m-series-sff/thinkcentre-m75s-gen-

2/11tc1mdm75s?orgRef=https%253A%252F%252Fwww.google.com%252F#tech_specs

(ThinkCenter M75s Gen 2 Small Form Factor Desktop – Product Specification);

https://www.lenovo.com/us/en/p/laptops/legion-laptops/legion-7-series/legion-7-gen-6-(16-inch-

amd)/len101g0011?orgRef=https%253A%252F%252Fwww.google.com%252F (Legion 7 Gen 6

Gaming Laptop – Product Specification). Lenovo also instructs its customers and end users on

how to use the Accused Products in an infringing manner, including through the use of USB-C.

See,      e.g.,        https://download.lenovo.com/pccbbs/thinkcentre_pdf/m75s_gen2_ug_en.pdf

(ThinkCenter       M75s     Gen     2   Small    Form     Factor    Desktop     –   User    Manual);

https://download.lenovo.com/pccbbs/pubs/legion_7_16_6/html_en/index.html#t=EN%2Fcover.h

tml (Legion 7 Gen 6 Gaming Laptop – User Manual). Lenovo provides these instructions and

materials knowing and intending (or with willful blindness to the fact) that its customers and end

users will commit these infringing acts. Lenovo also continues to make, use, offer for sale, sell,

and/or import the Accused Products, despite its knowledge of the ’712 Patent, thereby specifically

intending for and inducing its customers to infringe the ’712 Patent through the customers’ normal

and customary use of the Accused Products.

       63.        Lenovo has also infringed, and continues to infringe, one or more claims of the ’712

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’712

Patent, are especially made or adapted to infringe the ’712 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least July 11, 2022, Lenovo

has knowledge of the ’712 Patent and the infringing nature of the Accused Products. Lenovo has

been, and currently is, contributorily infringing the ’712 Patent in violation of 35 U.S.C. §§ 271(c)




                                                   23
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 24 of 36 PageID #: 24




and/or (f). For example, the identified hardware and/or software components in Lenovo’s laptops,

desktops, monitors, docking stations, and power adapters that support USB-C Release 1.0 and later

constitute a material part of the inventions claimed in the ’712 Patent, are especially made or

adapted to infringe the ’712 Patent, and are not staple articles or commodities of commerce suitable

for non-infringing use, as demonstrated by the evidence in Exhibit 13.

       64.        By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’712 Patent

pursuant to 35 U.S.C. § 271.

       65.        On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’712 Patent

during the relevant time period or were not required to mark during the relevant time period.

       66.        As described above, Lenovo obtained knowledge of the ’712 Patent and that certain

products infringe the ’712 Patent as of at least July 11, 2022, but has not ceased its infringing

activities. Lenovo’s infringement of the ’712 Patent has been and continues to be willful and

deliberate. Lenovo also has knowledge of the ’712 Patent by way of this complaint and, to the

extent they do not cease their infringing activities, their infringement is and continues to be willful

and deliberate.

       67.        As a result of Lenovo’s direct and indirect infringement of the ’712 Patent, Plaintiff

is entitled to monetary damages (past, present, and future) in an amount adequate to compensate

for Lenovo’s infringement, but in no event less than a reasonable royalty for the use made of the

invention by Lenovo, together with interest and costs as fixed by the Court.




                                                   24
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 25 of 36 PageID #: 25




                                            COUNT VI

                      INFRINGEMENT OF U.S. PATENT NO. 7,856,520

          68.   Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

          69.   Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 7,856,520, titled

“Control bus for connection of electronic devices.” The ’520 Patent was duly and legally issued

by the United States Patent and Trademark Office on December 21, 2010. A true and correct copy

of the ’520 Patent is attached as Exhibit 14.

          70.   On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, monitors, docking stations, and USB-C to DP/HDMI adapters) that support

DisplayPort Alt Mode on USB Type-C Version 1.0 and later or HDMI Alt Mode for USB-C, such

as the ThinkPad T16 Gen 2 (AMD) Laptop and Legion 7 Gen 7 Laptop (“Accused Products”), that

directly infringe, literally and/or under the doctrine of equivalents, one or more claims of the ’520

Patent. Identification of the Accused Products will be provided in Plaintiff’s infringement

contentions disclosed pursuant to the Court’s scheduling order. Plaintiff’s identification of the

Accused Products is not intended to accuse products where the infringement accusations are

directed at products that are licensed by the license between Intel Corporation and WiLAN.

          71.   The Accused Products satisfy all claim limitations of one or more claims of the ’520

Patent.    A claim chart comparing exemplary independent claim 12 of the ’520 Patent to

representative Accused Products is attached as Exhibit 15.




                                                 25
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 26 of 36 PageID #: 26




       72.      Lenovo also knowingly and intentionally induces infringement of one or more

claims of the ’520 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Lenovo has knowledge of the ’520 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’520 Patent, Lenovo continues to actively

encourage and instruct its customers and end users (for example, through online instruction and

other online publications cited in Exhibit 15) to use the Accused Products in ways that directly

infringe the ’520 Patent. For example, Lenovo advertises that its products provide DisplayPort

Alternative         Mode          connections        over        USB-C.             See,       e.g.,

https://most.lenovo.com/api/v2/library/pdf/device2pager/Device_ThinkPad_T16_Gen_2_AMD?l

ocale=en (ThinkPad T16 Gen 2 (AMD) – Product Specification). Lenovo also instructs its

customers and end users on how to use the Accused Products in an infringing manner, including

through       the    use     of       DisplayPort        Alternative   Mode.          See,     e.g.,

https://download.lenovo.com/pccbbs/mobiles_pdf/t14_gen4_p14s_gen4_t16_gen2_p16s_gen2_li

nux_ug.pdf (ThinkPad T16 Gen 2 (AMD) – User Manual). Lenovo provides these instructions

and materials knowing and intending (or with willful blindness to the fact) that its customers and

end users will commit these infringing acts. Lenovo also continues to make, use, offer for sale,

sell, and/or import the Accused Products, despite its knowledge of the ’520 Patent, thereby

specifically intending for and inducing its customers to infringe the ’520 Patent through the

customers’ normal and customary use of the Accused Products.

       73.      Lenovo has also infringed, and continues to infringe, one or more claims of the ’520

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’520

Patent, are especially made or adapted to infringe the ’520 Patent, and are not staple articles or




                                                    26
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 27 of 36 PageID #: 27




commodities of commerce suitable for non-infringing use. As of at least the filing and service of

this complaint, Lenovo has knowledge of the ’520 Patent and the infringing nature of the Accused

Products. Lenovo has been, and currently is, contributorily infringing the ’520 Patent in violation

of 35 U.S.C. §§ 271(c) and/or (f).       For example, the identified hardware and/or software

components in Lenovo’s laptops, desktops, docking stations, USB-C to DP/HDMI adapters, and

monitors that support DisplayPort Alt Mode on USB Type-C Version 1.0 and later constitute a

material part of the inventions claimed in the ’520 Patent, are especially made or adapted to

infringe the ’520 Patent and are not staple articles or commodities of commerce suitable for non-

infringing use, as demonstrated by the evidence in Exhibit 15.

       74.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’520 Patent

pursuant to 35 U.S.C. § 271.

       75.     On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’520 Patent

during the relevant time period or were not required to mark during the relevant time period.

       76.     As a result of Lenovo’s direct infringement of the ’520 Patent, Plaintiff is entitled

to monetary damages (past, present, and future) in an amount adequate to compensate for Lenovo’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Lenovo, together with interest and costs as fixed by the Court.

       77.     As a result of Lenovo’s indirect infringement of the ’520 Patent, Plaintiff is entitled

to monetary damages (present and future) in an amount adequate to compensate for Lenovo’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by




                                                 27
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 28 of 36 PageID #: 28




Lenovo, together with interest and costs as fixed by the Court, accruing as of the time Lenovo

obtained knowledge of the ’520 Patent.

                                            COUNT VII

                      INFRINGEMENT OF U.S. PATENT NO. 7,921,231

        78.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        79.     Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 7,921,231, titled

“Discovery of electronic devices utilizing a control bus.” The ’231 Patent was duly and legally

issued by the United States Patent and Trademark Office on April 5, 2011. A true and correct

copy of the ’231 Patent is attached as Exhibit 16.

        80.     On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, and monitors) that support DisplayPort Alt Mode on USB Type-C Version 1.0

and later, such as the ThinkPad T16 Gen 2 (AMD) Laptop, Legion 7 Gen 7 Laptop, and Qreator

27in Monitor (“Accused Products”), that directly infringe, literally and/or under the doctrine of

equivalents, one or more claims of the ’231 Patent. Identification of the Accused Products will be

provided in Plaintiff’s infringement contentions disclosed pursuant to the Court’s scheduling

order. Plaintiff’s identification of the Accused Products is not intended to accuse products where

the infringement accusations are directed at products that are licensed by the license between Intel

Corporation and WiLAN.




                                                 28
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 29 of 36 PageID #: 29




          81.     The Accused Products satisfy all claim limitations of one or more claims of the ’231

Patent.    A claim chart comparing exemplary independent claim 10 of the ’231 Patent to

representative Accused Products is attached as Exhibit 17.

          82.     Lenovo also knowingly and intentionally induces infringement of one or more

claims of the ’231 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Lenovo has knowledge of the ’231 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’231 Patent, Lenovo continues to actively

encourage and instruct its customers and end users (for example, through online instruction and

other online publications cited in Exhibit 17) to use the Accused Products in ways that directly

infringe the ’231 Patent. For example, Lenovo advertises that its products provide DisplayPort

Alternative           Mode          connections        over        USB-C.             See,       e.g.,

https://most.lenovo.com/api/v2/library/pdf/device2pager/Device_ThinkPad_T16_Gen_2_AMD?l

ocale=en (ThinkPad T16 Gen 2 (AMD) – Product Specification). Lenovo also instructs its

customers and end users on how to use the Accused Products in an infringing manner, including

through         the    use     of       DisplayPort        Alternative   Mode.          See,     e.g.,

https://download.lenovo.com/pccbbs/mobiles_pdf/t14_gen4_p14s_gen4_t16_gen2_p16s_gen2_li

nux_ug.pdf (ThinkPad T16 Gen 2 (AMD) – User Manual). Lenovo provides these instructions

and materials knowing and intending (or with willful blindness to the fact) that its customers and

end users will commit these infringing acts. Lenovo also continues to make, use, offer for sale,

sell, and/or import the Accused Products, despite its knowledge of the ’231 Patent, thereby

specifically intending for and inducing its customers to infringe the ’231 Patent through the

customers’ normal and customary use of the Accused Products.




                                                      29
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 30 of 36 PageID #: 30




       83.     Lenovo has also infringed, and continues to infringe, one or more claims of the ’231

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’231

Patent, are especially made or adapted to infringe the ’231 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least the filing and service of

this complaint, Lenovo has knowledge of the ’231 Patent and the infringing nature of the Accused

Products. Lenovo has been, and currently is, contributorily infringing the ’231 Patent in violation

of 35 U.S.C. §§ 271(c) and/or (f).      For example, the identified hardware and/or software

components in Lenovo’s laptops, desktops, and monitors that support DisplayPort Alt Mode on

USB Type-C Version 1.0 and later constitute a material part of the inventions claimed in the ’231

Patent, are especially made or adapted to infringe the ’231 Patent and are not staple articles or

commodities of commerce suitable for non-infringing use, as demonstrated by the evidence in

Exhibit 17.

       84.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’231 Patent

pursuant to 35 U.S.C. § 271.

       85.     On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’231 Patent

during the relevant time period or were not required to mark during the relevant time period.

       86.     As a result of Lenovo’s direct infringement of the ’231 Patent, Plaintiff is entitled

to monetary damages (past, present, and future) in an amount adequate to compensate for Lenovo’s




                                                30
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 31 of 36 PageID #: 31




infringement, but in no event less than a reasonable royalty for the use made of the invention by

Lenovo, together with interest and costs as fixed by the Court.

        87.     As a result of Lenovo’s indirect infringement of the ’231 Patent, Plaintiff is entitled

to monetary damages (present and future) in an amount adequate to compensate for Lenovo’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Lenovo, together with interest and costs as fixed by the Court, accruing as of the time Lenovo

obtained knowledge of the ’231 Patent.

                                            COUNT VIII

                      INFRINGEMENT OF U.S. PATENT NO. 9,852,103

        88.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        89.     Plaintiff owns by assignment all rights, title, and interest, including the right to

recover damages for past, present, and future infringement, in U.S. Patent No. 9,852,103, titled

“Bidirectional transmission of USB data using audio/video data channel.” The ’103 Patent was

duly and legally issued by the United States Patent and Trademark Office on December 26, 2017.

A true and correct copy of the ’103 Patent is attached as Exhibit 18.

        90.     On information and belief, Lenovo has and continues to make, use, offer for sale,

sell, and/or import certain products and services, including without limitation Lenovo products

(laptops, desktops, monitors, and docking stations) that support USB 4 Version 1.0 and later, such

as the ThinkPad T16 Gen 2 & 3 (AMD) Laptop, ThinkPad Z13, Lenovo Legion 7 Gen 7 AMD

Laptop, and ThinkVision P27pz-30 Mini-LED Monitor (“Accused Products”), that directly

infringe, literally and/or under the doctrine of equivalents, one or more claims of the ’103 Patent.

Identification of the Accused Products will be provided in Plaintiff’s infringement contentions




                                                  31
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 32 of 36 PageID #: 32




disclosed pursuant to the Court’s scheduling order. Plaintiff’s identification of the Accused

Products is not intended to accuse products where the infringement accusations are directed at

products that are licensed by the license between Intel Corporation and WiLAN.

          91.   The Accused Products satisfy all claim limitations of one or more claims of the ’103

Patent.    A claim chart comparing exemplary independent claim 21 of the ’103 Patent to

representative Accused Products is attached as Exhibit 19.

          92.   Lenovo also knowingly and intentionally induces infringement of one or more

claims of the ’103 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Lenovo has knowledge of the ’103 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’103 Patent, Lenovo continues to actively

encourage and instruct its customers and end users (for example, through online instruction and

other online publications cited in Exhibit 19) to use the Accused Products in ways that directly

infringe the ’103 Patent. For example, Lenovo advertises that its products are compatible with

USB.                                                           See,                            e.g.,

https://most.lenovo.com/api/v2/library/pdf/device2pager/Device_ThinkPad_T16_Gen_2_AMD?l

ocale=en (ThinkPad T16 Gen 2 (AMD) – Product Specification). Lenovo also instructs its

customers and end users on how to use the Accused Products in an infringing manner, including

through           the          use          of          USB.                     See,          e.g.,

https://download.lenovo.com/pccbbs/mobiles_pdf/t14_gen4_p14s_gen4_t16_gen2_p16s_gen2_li

nux_ug.pdf (ThinkPad T16 Gen 2 (AMD) – User Manual). Lenovo provides these instructions

and materials knowing and intending (or with willful blindness to the fact) that its customers and

end users will commit these infringing acts. Lenovo also continues to make, use, offer for sale,

sell, and/or import the Accused Products, despite its knowledge of the ’103 Patent, thereby




                                                 32
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 33 of 36 PageID #: 33




specifically intending for and inducing its customers to infringe the ’103 Patent through the

customers’ normal and customary use of the Accused Products.

       93.     Lenovo has also infringed, and continues to infringe, one or more claims of the ’103

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’103

Patent, are especially made or adapted to infringe the ’103 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. As of at least the filing and service of

this complaint, Lenovo has knowledge of the ’103 Patent and the infringing nature of the Accused

Products. Lenovo has been, and currently is, contributorily infringing the ’103 Patent in violation

of 35 U.S.C. §§ 271(c) and/or (f).      For example, the identified hardware and/or software

components in Lenovo’s laptops, desktops, monitors, and docking stations that support USB 4

Version 1.0 and later constitute a material part of the inventions claimed in the ’103 Patent, are

especially made or adapted to infringe the ’103 Patent and are not staple articles or commodities

of commerce suitable for non-infringing use, as demonstrated by the evidence in Exhibit 19.

       94.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Lenovo has injured Plaintiff and is liable for infringement of the ’103 Patent

pursuant to 35 U.S.C. § 271.

       95.     On information and belief, Plaintiff (including its predecessors and any licensees)

complied with 35 U.S.C. § 287 during the relevant time period because Plaintiff, its predecessors,

and any licensees did not make, offer for sale, or sell products that practice(d) the ’103 Patent

during the relevant time period or were not required to mark during the relevant time period.

       96.     As a result of Lenovo’s direct infringement of the ’103 Patent, Plaintiff is entitled

to monetary damages (past, present, and future) in an amount adequate to compensate for Lenovo’s




                                                33
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 34 of 36 PageID #: 34




infringement, but in no event less than a reasonable royalty for the use made of the invention by

Lenovo, together with interest and costs as fixed by the Court.

        97.     As a result of Lenovo’s indirect infringement of the ’103 Patent, Plaintiff is entitled

to monetary damages (present and future) in an amount adequate to compensate for Lenovo’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Lenovo, together with interest and costs as fixed by the Court, accruing as of the time Lenovo

obtained knowledge of the ’103 Patent.

                                             COUNT IX

  DECLARATORY JUDGMENT THAT PLAINTIFF HAS NEGOTIATED IN GOOD
FAITH TOWARD A LICENSE WITH LENOVO, HAS NOT VIOLATED THE VESA OR
    USB-IF IPR POLICIES, AND HAS NOT VIOLATED COMPETITION LAW

        98.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        99.     Plaintiff’s ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents were

previously assigned to Lattice Semiconductor Corporation (“Lattice”), which is a member of the

Video Electronics Standards Association (“VESA”) and the USB Implementers Forum, Inc.

(“USB-IF”). Lattice was required to comply with the VESA and USB-IF IPR policies to the extent

the ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents contain Necessary Claims as defined

in the VESA and USB-IF IPR policies.

        100.    Plaintiff has fully performed its obligations under the VESA and USB-IF IPR

policies, to the extent they apply to Plaintiff’s ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103

Patents, but Lenovo disagrees and has refused to license these patents, even refusing to entertain

an offer from Plaintiff. Plaintiff has at all times been prepared to grant Lenovo a license to

the ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents. There is a dispute between Plaintiff




                                                  34
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 35 of 36 PageID #: 35




and Lenovo concerning whether Plaintiff has negotiated in good faith towards a license to

Plaintiff’s ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents, and whether Plaintiff or its

predecessors-in-interest have complied with the VESA and USB-IF IPR policies. There is a case

or controversy of sufficient immediacy, reality, and ripeness to warrant the issuance of declaratory

judgment.

       101.    Plaintiff requests a declaratory judgment that its negotiations toward a license with

Lenovo were conducted in good faith, are not in violation of the VESA or USB-IF IPR policies,

and are consistent with competition law requirements.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter:

       a.      A judgment in favor of Plaintiff that Lenovo has infringed, either literally and/or

under the doctrine of equivalents, the ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents;

       b.      A judgment and order requiring Lenovo to pay Plaintiff its damages (past, present,

and future), costs, expenses, and pre-judgment and post-judgment interest for Lenovo’s

infringement of the ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents;

       c.      A judgment that Lenovo’s infringement of the ’905, ’307, ’798, ’265, and ’712

Patents has been willful and order requiring Lenovo to pay treble damages for willful infringement;

       d.      A judgment and order requiring Lenovo to pay Plaintiff compulsory ongoing

licensing fees, as determined by the Court;

       e.      A judgment and order requiring Lenovo to provide an accounting and to pay

supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest and compensation for infringing products released after the filing of this case that are not

colorably different from the Accused Products;




                                                 35
 Case 2:23-cv-00449-JRG Document 1 Filed 09/28/23 Page 36 of 36 PageID #: 36




       f.        A declaration that Plaintiff has negotiated in good faith with Lenovo towards a

license for the ’905, ’307, ’798, ’265, ’712, ’520, ’231, and ’103 Patents, has not violated the

VESA or USB-IF IPR policies, and has not violated competition law.

       g.        A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Lenovo; and

       h.        Any and all other relief as the Court may deem appropriate and just under the

circumstances.


                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.


Dated: September 28, 2023                     Respectfully submitted,

                                              /s/ Brett Cooper

                                             Brett E. Cooper (NY SBN 4011011)
                                             bcooper@bc-lawgroup.com
                                             Seth Hasenour (TX SBN 24059910)
                                             shasenour@bc-lawgroup.com
                                             Jonathan Yim (TX SBN 24066317)
                                             jyim@bc-lawgroup.com
                                             Drew B. Hollander (NY SBN 5378096)
                                             dhollander@bc-lawgroup.com

                                              BC LAW GROUP, P.C.
                                              200 Madison Avenue, 24th Floor
                                              New York, NY 10016
                                              Phone: 212-951-0100

                                              Attorneys for Plaintiff Universal Connectivity
                                              Technologies Inc.




                                                36
